     Case 19-43134         Doc 26      Filed 01/20/20 Entered 01/20/20 09:01:02                 Desc Ch 13 Ntc
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA




In re:
                                                                                            Case No: 19−43134 − KHS
Todd David Morrow

Debtor(s)                                                                                               Chapter 13 Case




              NOTICE TO DEBTOR(S) RE: FINANCIAL MANAGEMENT CERTIFICATION


The debtor(s) has not filed a Certificate of Debtor Education from the course provider required by Bankruptcy Rule
1007(c).

File this form with the Bankruptcy court.

This case will be closed without discharge unless the debtor(s) files the Certificate no later than the date when the
last plan payment is to be made.

File this form at the address below.

Bankruptcy Clerk's Office:
301 U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415

Dated: 1/20/20                                              Lori Vosejpka
                                                            Clerk, United States Bankruptcy Court



                                                            By: admin
                                                            Deputy Clerk




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